BRYAN SCHRODER
United States Attorney

E. BRYAN WILSON
Assistant U.S. Attorney
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Room 253
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-2344
Email: Bryan.Wilson@usdoj.gov
Florida Bar No. 0604501

Attorneys for Defendant

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

  TANYA KVASNIKOFF,                    )   Case No. 3:16-cv-00081-SLG
                                       )
                     Plaintiff,        )   STIPULATION OF
                                       )   DISMISSAL WITH
         vs.                           )   PREJUDICE
                                       )
  UNITED STATES OF AMERICA,            )
                                       )
                     Defendant.        )



      The parties to the above-captioned lawsuit, through their undersigned

attorneys, hereby stipulate and agree to dismiss this lawsuit with prejudice.

Fed. R. Civ. P. 41. Each party shall bear its own fees and costs.




       Case 3:16-cv-00081-SLG Document 69 Filed 01/29/19 Page 1 of 2
       RESPECTFULLY SUBMITTED this January 29, 2019, in Anchorage,

Alaska.

                                              BRYAN SCHRODER
                                              United States Attorney

                                              s/ E. Bryan Wilson
                                              Assistant U.S. Attorney
                                              United States of America


                                              Fortier & Mikko, P.C.

                                              s/ Samuel J. Fortier (consent)
                                              1600 A Street, Suite 101
                                              Anchorage, AK 99501
                                              907-277-4222
                                              Fax: 907-277-4221
                                              Email: sfortier@fortiermikko.com



CERTIFICATE OF SERVICE

I hereby certify that on January 29, 2019,
a true and correct copy of the foregoing
was served electronically on the following:

Samuel J. Fortier


s/ E. Bryan Wilson
Office of the U.S. Attorney




          Case 3:16-cv-00081-SLG Document 69 Filed 01/29/19 Page 2 of 2
